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Electroiek Corporation

income Statement

As Of December, 202

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Qocc cen Prior Year ---------~- > ;
Current Month yID al ox
Total Production
Muti layer Production
MLB - Sales 414,131, 32 9,269,531. 60
MLB - Tooling 3,900.00 44,325.00
MLB - Testing 750.00 7,260.00
MLB - Returns & Allowances (12,166.93) {1,138,214.97)
ML& - WIP Variance (1,443.00) (120,177.06)
405,171.39 8, 062,724.57
Double Sided Production
DS - Sales 194,091.26 2,341,616.95
DS - Tooling 1,675.00 4,225.00
DS - Testing 450,00 1,200.00
DS - WIP Variation (722.00) (61,598.30)
195 494.26 2,285,443.65
Single Sided Production
SS - Sales 00 500.00
SS - Testing 00 575.00
00 1,075.00
Subcontracted Parts
G55 - Sales 00 2,464.72
GSS - Returns & Allowances .00 (1,376,003
.00 1,088. 72
600,665.65 10, 350,331.94
Cost of Goods Sold
Direct Labor
P.A.R. .00 77.68
Direct Labor 110,521.17 1,629, 821.66
110,521.17 1,629,899. 34
Outside Labor
O/L Viafill .00 7,849.72
O/L - Plating -00 355,00
O/L - Die Blanking 1,895.09 34,772.30
GSS- Outside Purchased Product .00 4,478.00
Outside Service - Engineering 225.00 5,220.00
Outside Service-Miscel laneous .00 (97.00
Outside Service - Inspection 1,156.00 183,621.00
O/L - Tensil Strength-Elong. 1,000.00 6,500.00
4,276.09 242 699,02
Material
Film Purchases 2,383.40 33,558.34
Multilayer Purchases 87,740.41 1,561, 284.86
In-House Consignment Core 00 2,447.79
Laminate Purchases 5,545.60 120,926.44
Flex Material Purchases 15,423.82 271,867.25
BU/E Purchases - Drill Room E2 936,00 169,543.20
Brill] Bit Purchases 1,765.00 67,885.62
Brill Bit Resharpening -O0 25,671.04
Collet Purchases 00 3,663.39
Bry Film Purchases 12,976.05 179,566.71
Plating - Hard & Soft Gold 20,381.38 214,667.54
Plating - Copper 8, 999,92 161,879.79
Plating - ENIG 42,283.32 307 ,827.18
Plating - Misc. (Reclaim, etc) 15,760.97 82,789.14
Plating - Inversion Silver 3,748.48 22 , 846,93
Plating - Etching SES & DES 5,445.70 56,684.27

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Current Month YTD
Plating - HAL 404,00 33,555.94
Plating - OSP 1,456.60 6,574.60
Plating - Oxide 3,705.28 32,070.24
Plating - PTH 3,813.10 136,680.27
Screening Ink Purchases 13,106.58 183,263.49
PISM Inks Purchases -00 3,570.00
BU/E Purchases - Routing Room 1,432.50 21,743.36
Router Bit Purchases 3,840.00 25,830.00
Router Collet Purchases »00 550.00
237,142.11 3,726,947 .39
Indirect Labor
Production Support & Suprysn 35,887.32 578,958.09
Materials Management 4,849.39 93,489.66
Engineering 15,982.02 222,971.43
Maintenance 14,300.02 228, 816,88
Fringe Benefits 00 250,429.26
71,018.75 1,374, 665.32
Production Supplies
AOI Supplies 00 683,14
Photo Suppties 1,050.36 16,323.10
Multilayer Suppltes 1,812.66 39,371.31
Dri1i Room Supplies 181.69 22,753.64
Print Room Supplies (455.14) 6,056,59
Plating Room Supplies 4,310.62 72,077.81
Screening Room Supplies 7,838.41 49,171.68
PISM Room Supplies 00 13,071.69
Routing Room Supplies 00 4,139.11
Shipping Supplies 1,675.44 31,006.77
P.A.R. Supplies 00 1,374.82
Quality A/C Supplies 8,457.99 121,085.83
Quality Control - Plug Gauges 00 931.80
Electrical Test Supplies 00 13,222.56
Waste Treatment Supplies 2,940.48 39,022,19
Wet Lab Supplies 1,900.58 37,219.77
Other Production Supplies 4,721.23 74,167.64
34,434.32 531,679.45
Production Equi prent
Dri7] Room Equipment 00 2,340.27
Plating Room Equipment 710.92 710.92
Screening Room Equipment 00 284,20
Routing Room Equipment 615.68 1,401.08
Other Equipment .00 2,073.97
1,326.60 6,810.44
Other Production Expenses
Overtime Premium 15,718.40 172,773.93
Fringe - Direct Labor 00 398,838.57
Health & Safety 1,652.46 70,033.36
Travel 00 2.98
Meals & Entertainment 00 71.28
Uniforms - Cintas 1,591.18 28,911.69
Uniforms - Other 00 859,49
Licenses & Fees 633.00 10,189.47
Shop Forms .00 280.78
Expedited Material Expense 00 1, 388.13
Tariff charges 287.00 3,870.23
Production Telephone 55.00 979.78
LDI #2 Maintenance .00 7,222.00
LDI Maintenance Agreemnt 11,916.65 155,778.00

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Current Month YTD
CimNet Software Maint Contract 5,521.83 46,407.14
Polar Maintenance -00 37.38
Genisis Maintenance Contract 1,255.50 28,880.50
Freight-In 8,257.83 177,370.49
Freight In - China \ (209.76) 8,379.70
Freight in - Malaysia ~ 00 1,246.80
Freight In - Mexico 00 180. 32
Freight In - Canada 00 6,578.62
Freight In - Germany 00 1,514.05
Freight-Petroleum Surcharge 257.15 5,001.55
Fretght-Hazardous Fee 124.74 2,381.56
Freight-Hand]ing Charge 62.08 1,532.70
Freight-Out 1,912.82 99,083.89
Freight out - China 00 418.74
Freight out - Malasyia -00 541.38
Freight out - Canada 00 55,26
Component costs on returns .00 3,247.45
Q/C Callibration 00 38,814.03
QC Outside Testing 00 10,312.00
Celtic CML-3691A01 Lease 2,230.00 26,760.00
Celtic OML-3691A02 lease 2,578.00 30,936.00
Celtic CML-3691A03 lease 2,959.00 35,508.00
First American Equipment lease .CO 10,249.70
Tetra Financial Group lease 17,927.12 227 , 849, 38
Celtic CML-3691A04 Lease 6,899.00 85,950.15
Alliance Lease 8,402.20 100, 849.29
Other Production Expense 394,90 16,515.40
90,226.10 1, 817 , 801,37

Repairs & Maintenance
Air Compressors 411.46 12,856.00
HVAC System South Plant 1,537.09 12,539.62
HVAC System North Plant 1,409.18 2,932.67
HVAC System West 1,551.50 5,020.29
Waste Treatment System -00 38.98
20 Ton Chiller -00 4,631.80
Drake Chiller 3,352.37 4,958.42
Other auilding R & M 385.50 36,710.06
A.0.I,. Discovery 1 82.50 7,116.50
A.O.I. Discovery 2 179.88 509.88
Plotter -00 58.00
Processor .00 163.00
Other Tooling R&M 201.00 201.00
Brown Oxide Line -00 66.42
TMP Multilayer Press #1 557.67 2,631.65
TMP Multilayer Press #2 710.44 3,935.09
Piuritec X-Ray Drill 4,320.00 5,255.74
Pill CobraBond Oxide Line 952 -00 2,851.82
March Plasma Unit -00 2,448.56
Other Multijiayer R&M .00 3,108.68
EX200 Drill .00 1,097.46
689 Drill (S/N 9014) -00 3,964.58
689 Drill (5/N 9016) -00 12,979.76
CNC5-B Drill (S/N 001) -00 4,849.27
CNC5-C Drill (S/N 773) Leased -00 725.00
Drilling Spindles 3,894.00 30,991.08
Drilling Machine Parts -00 3,499.39
Mark VI Drill (S/N 66129 .00 137.88
25 HP Dust Collector 56.85 240.15
Other Drilling R&M -00 1,009.24
Dry Film Laminator -00 2,628.03
VOM Developer 284,24 2,798.19

 

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Electrotek Corporation

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Current Month YTD
Atotech Developer 00 1,569.47
Dry Film Solder Mask Unit 00 276.97
Cut Sheet Laminator 00 9,510.07
OLEC AT-30 (6Kw) 00 3,941.50
Orbotech Laser Direct Imager 00 34.72
Viafill/Planerizer/Rinsedry 199.68 1,435.19
Other Printing R&M 236.34 1,865.93
PTH Plating Line -00 10,313.51
Desmear Line .00 1,610, 22
Deep Nickel Tank GG 1,220.76
M.E. Baker Copper Line 329.34 14,527.45
Chencut Dry Film Stripper G0 3,887.68
Chemcut Dry Rinse (PTH) 00 110.00
Etch/Tin Strip Line (ME Baker) 899.32 17,265.83
Chemcut Dry Rinse (Autocopper> -00 1,548.00
Horizontal HAL -O0 12,046.87
HAL PreClean -00 2,882.10
HAL PostClean -00 7,678.08
Vertical HAL .00 235.00
Chemcut Chemical Clean .00 1,444.00
Marseco Deburring Equipment .00 14,099.86
Via Fill 00 46,824.44
OSP Line 00 58.00
ENIG Line 295.06 16,354.08
DES Line 198,39 14,156.44
Direct Metalization 216.01 350.95
DES Line (s/n CC450-30) 582.22 5,397.68
Other Plating Room R&M 1,353.70 12,026.50
Aluminum Chip Reactor .00 1,601.61
Other Waste Treatment R& -00 441.43
TC120 Tunnel Oven -00 1,390.00
Screen Making Exposure Unit .00 512.00
Screen Reclaiming Booths .00 360.78
OP1500 Screen Press 66.50 8,043.61
Orbotech Sprint 8 Legend Ink .00 3,047.46
Other Screening Room R&M -00 2,042.00
Batch Oven -00 525.58
Union Carbide Photocure System 184.60 184.60
Pumice Scrubber 2,503.67 8,750.58
OLEC AT-30 (8KW) .00 7,013.66
Other PISM RAM -00 1,719.10
Routing Spindles -00 18,230.99
Routing Machine Parts -00 4,603. 74
Fab Dust Collector -00 31.65
Fab Arco Wand Dust Collector -00 1,207.47
Mark VI CNC-6 Router(s/n 0151) -00 1,508.65
Other Routing Room R&M -00 54.51
Accuscore Scoring Machine -00 2,895.00
Score Blades -00 1,648.00
Dry Lab Inspection Equipment .00 735.32
Cyclops Unit .00 134.00
EMMA #1 (s/n £8176500) 00 78.00
EMMA #2 (s/n EA276500) -00 233.15
EMMA #3 (s/n FAOS6400) -00 2,250,00
EMMA #4 -00 100.00
C-IT Vacuum Packaging Machine -00 200.00
Kuttler Equipment -00 3.99
Culligan RO/DI System 2,586.70 37,127.07
28,585.21 482,298.46

Other Maintenance Expense
Tools 221.25 2,542.03

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Breen aae Prior Year ---------- >
Current Month YTD
Supplies 510.28 7,164.74
Electrical Suppties 11.99 1,303.14
Plumbing Supplies -00 1,072.72
Janitorial Supplies 1,583.51 16,997.91
Trash Disposal 1,624.27 20,851.44
Grounds Upkeep -00 14,419.03
Housekeeping 3,500.00 41,850.00
Other Maintenance Expense 476.70 6,539.38
7,928.00 112,740.39
Environment & Waste
Licenses & Fees -00 7,974.25
Waste Recovery 10,000.00 102,239.67
Copper Recycle 00 46,92
10,000.00 110,260.84
Utilities
Electric 38,598.58 568,615.14
Gas | 3,439.73 14,519.10
Water 12,840.01 154,366.00
Sewer 9,315.74 117 , 014.04
64,194.06 849,514.28
Building Expense
Real Estate Tax (6,645.25) 40,701.70
(6,645.25) 40,701.70
Depreciation
Bepreciation 35,265.30 556,084, 80
35,265.30 556,084, 80
688,272.46 11, 482,102.80
Gross Profit (87,606.81) (1,131, 770.86)

 

Operating Expenses
Sales Expenses

 

 

 

 

Selling Salaries 8,778.88 167,016.97
Fringe Benefits -00 40,104.44
8,778.88 207,121.41
Commissions
Sales Commissions Expense -00 12,212.03
-00 12,212.03
Other Selling Expenses
Meals & Entertainment .00 18.75
00 18.75
G&A Salaries and Fringe
Administrative Salaries 12,590.65 340,735.41
Accounting Salaries 12 024,13 201,906. 54
MIS Salaries 6,519.69 87,043.99
QA Salaries 11,440.91 227,383.21
Fringe Benefits 00 227,821.73
42,575.38 984,890.88
Fringe
Vacation 18,555.59 244,144.97
Holiday Pay 8,816.33 33, 388.24
ECSO Pay 00 4,200.00

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Electrotek Corporation

income Statement

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Current Month YTo
FICA - Employer 12,980.96 280,681.18
uC - Federal 69.80 4,499.44
UC - State 1,433.69 28,028.71
Life AD&D OO 5,960.69
LTD Premiums 00 19,575.38
Med Ded Reimbursement Admin .00 (966.75)
Section 125 Plan W/H .00 67.04
Cost of Health Insurance 31,079.95 427,506.57
Cost of Dental Insurance 2,203, 70 31, 564.68
Health Cost - Diversified 00 1,943.20
Insurance Fees From Employees (25,136.09) (235,541.10)
Safety Shoes & Glasses 00 795.00
Worker's Compensation 12,972,909 27, 921,32
401k Company Match 00 6,402 .26
Fringe Benefit Offset .00 (817,194.00)
62,976.83 62,976.83
Office Supplies
Copier Lease 997.74 16,143.99
Copier Maintenance -00 1,382.73
Copier Supplies 339.90 3,287.79
Telephone Expense -G & A 979.19 10,520.78
Business Forns .00 1,719.04
Postage .00 1,826.72
Postage Meter Rental 296.41 937.50
Other Office Supplies 921.08 7,066.63
TSO 9002 /459100 1,448.00 13, 715,00
4,982.32 56,600.18
MIS Expenses
MIS Sofiware 6,632.75 44,204.84
MIS Hardware 986.84 5,758.90
MIS Supplies -00 10,111.09
MIS Repairs & Maintenance 1,500.00 21,442.99
MIS Subscriptions .00 5,414.00
9,119.59 86,931.82
Human Resources Expenses
Payrol] - ADP 2,142.67 23,927.30
Parties & Events 1,138.61 3,367.11
Recruitment Advertising 344.00 7,765.20
Drug Testing 307. 50 2,446.50
Other Human Resources Expense 93.45 3,004.17
Seminar & Courses .00 1,975.00
Professional Memberships 00 5,186.00
Technical Library Materials -O0 1,493.00
Subscriptions .00 27.60
4,026.23 49,191.88
Administrative Costs
Audit & Tax Service 2,644.90 36,759.68
Sales Discounts 118.66 (7,392.61)
Legal Fees 2,644.90 51,980.52
Travel .00 9,454.44
Meals & Entertainment .00 1,264.31
Consulting 6,650.00 29,936.34
Charitable Donations 00 2,500.00
Key Man Life Insurance 00 5,838.27
Business Insurance 00 46,512.53
Use Tax Expense .00 886.16
Sales Tax 1,980, 97 20,527.85
First Business Bank Fees 205.00 6,803.74

 

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Current Month YTD
Other Administrative Costs 2,981.49 46,049.41
Bad Debt Expense 00 3,499.20
Other G&A Expense 00 500.00
17,225.92 255,119.84
149,685.15 1,715 ,063.62
Operating Income (237,291.96) (2, 846,834.48)
Other Income/ Expenses
Interest Expense al
Interest - Insulectro (3,459.77) (17,350.09) Ee"
Interest Exp - Shareholder (52, 792 00) (627,869.00) } 5 ou
($6,251.77) (645,219.09)
(56,251.77) (645,219.09)
Net Income Before Tax (293,543.73) (3 ,492,053.57)
Net Income (293 543.73) (3,492,053.57)
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